Case 2:08-cv-11077-SFC-SDP ECF No. 76 filed 07/06/10               PageID.1746      Page 1 of 1



                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

Innotext, Inc.,

        Plaintiff,

v.                                            Case No. 08-11077

Petra’Lex USA, Inc., et al.,                  Honorable Sean F. Cox

      Defendants.
_______________________________/

                                           JUDGMENT

        For the reasons set forth in an Opinion & Order issued this date, IT IS ORDERED,

ADJUDGED, AND DECREED that Plaintiff’s Complaint is DISMISSED WITH

PREJUDICE.


                                s/Sean F. Cox
                                Sean F. Cox
                                United States District Judge

Dated: July 6, 2010

I hereby certify that a copy of the foregoing document was served upon counsel of record on July
6, 2010, by electronic and/or ordinary mail.

                                s/Jennifer Hernandez
                                Case Manager




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